Case 2:24-cv-00228-WBV-DPC   Document 88-15   Filed 03/03/25   Page 1 of 5




                   EXHIBIT N
  Case 2:24-cv-00228-WBV-DPC           Document 88-15      Filed 03/03/25   Page 2 of 5



                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA

KATHLEEN MOLLER                                *   CIVIL ACTION NO. 24-0228-WBV-DPC
                                               *
VERSUS                                         *   JUDGE WENDY B. VITTER
                                               *
MARTIAN SALES, INC; JOPEN, LLC, a              *   MAGISTRATE      DONNA      PHILLIPS
Texas      limited      liability   company;   *   CURRAULT
JOHNSON FOODS, LLC, a Wyoming                  *
limited liability company; LP IND., LLC,       *
a Wyoming limited liability company;           *
CAG HOLDINGS, LLC, a Wyoming                   *
limited      liability     company;    RMH     *
HOLDINGS,            INC.,      a   Wyoming    *
corporation;          ABC        INSURANCE     *
COMPANY and John Does 1-4.                     *
************************                       *

            SECOND SET OF REQUESTS FOR PRODUCTION OF
               DOCUMENTS TO DEFENDANT, LP IND., LLC

TO:          LP Ind., LLC, Defendant

      In accordance with FRCP 34, you are required to answer separately each of

the following requests for production and produce such documents for inspection

and copying on or before 30 days from the date of service of these requests at the

offices of mctlaw, 1515 Ringling Blvd., Suite 700, Sarasota, FL 34236.

      Any objection must state whether any responsive materials are being

withheld on the basis of the asserted objection. An objection to part of a request

must specify the part and permit inspection of the rest. Any electronically stored

information must be produced in accordance with FRCP 34(E).


                                     DEFINITIONS

      1.     The word “documents” shall be construed in the broadest sense

allowable under the rules of civil procedure and other applicable law. “Documents”

includes electronically stored information, including writings, drawings, graphs,
  Case 2:24-cv-00228-WBV-DPC         Document 88-15     Filed 03/03/25   Page 3 of 5




charts, photos, audio and video recordings, images, data or data compilations, emails,

text messages, social media postings, website postings, calendars and calendar

entries, meeting notices, handwritten notes, voice messages, diaries or journals,

photographs, and all drafts.

         2.    “Defendant” means LP IND., LLC, its accountants, investigators,

agents, representatives, employees, and all persons acting or purporting to act on its

behalf.

         3.    The terms in these requests should be interpreted in accordance with

their ordinary and customary meanings and the context of this case, using common

sense.
                         REQUESTS FOR PRODUCTION

         REQUEST NO. 1: Produce all organizational charts or documents that

describe or identify the organizational structure of LP Ind., LLC, including all

affiliates, subsidiaries, or parent companies of LP Ind., LLC.

         REQUEST NO. 2: Produce all documents that describe or identify the owners

of LP Ind., LLC, from formation to present.

         REQUEST NO. 3: Produce all documents that describe or identify the

ownership percentages of all owners of LP Ind., LLC, from formation to present.

         REQUEST NO. 4: Produce all documents that describe or identify the owners

of all affiliates, subsidiaries, or parent companies of LP Ind., LLC.

         REQUEST NO. 5: Produce all balance sheets and income statements for LP

Ind., LLC from formation to present.

         REQUEST NO. 6: Produce all U.S. Federal Income Tax Returns for LP Ind.,

LLC from formation to present.
  Case 2:24-cv-00228-WBV-DPC      Document 88-15      Filed 03/03/25   Page 4 of 5




      REQUEST NO. 7: Produce all documents relied upon, referenced, or

otherwise reviewed in responding to Plaintiff’s Second Set of Interrogatories to LP

Ind., LLC.


Date: December 17, 2024
                                         Respectfully submitted,


                                      By: /s/ Michael Cowgill
                                         Michael J. Cowgill (FL Bar # 1010945)
                                         Admitted pro hac vice
                                         Tamara J. Spires (FL Bar #127625)
                                         Admitted pro hac vice
                                         mctlaw
                                         1515 Ringling Blvd., Suite 700
                                         Sarasota, Florida 34236
                                         mcowgill@mctlaw.com
                                         tspires@mctlaw.com

                                         and

                                         WAGAR HICKMAN, LLP

                                         NELSON W. WAGAR, III (No. 13136)
                                         SARAH WAGAR HICKMAN (No. 35823)
                                         1401 West Causeway Approach
                                         Mandeville, Louisiana 70471
                                         Telephone (985) 888-8740
                                         shickman@wagarhickman.com
                                         cwagar@wagarhickman.com


                                         Attorneys for Plaintiff, Kathleen Moller
  Case 2:24-cv-00228-WBV-DPC       Document 88-15      Filed 03/03/25   Page 5 of 5




                         CERTIFICATE OF SERVICE

      I do hereby certify that I have on this 17th day of December 2024, served a

copy of the foregoing pleading on counsel for all parties to this proceeding via

electronic mail, facsimile, and/or by U.S. mail, properly addressed with first-class

postage prepaid.


                                             /s/ Michael Cowgill
                                             Michael Cowgill
